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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Charles Johnson
                             Plaintiff,
v.                                                  Case No.: 1:16−cv−07032
                                                    Honorable Elaine E. Bucklo
Comenity, LLC
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 21, 2016:


        MINUTE entry before the Honorable Elaine E. Bucklo: This case is dismissed
with prejudice pursuant to FRCP 41(a)(1)(A)(ii) and without attorneys' fees and costs. All
pending dates and motions are terminated as moot. Civil case terminated. Mailed notice.
(mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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